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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                            )
 MAKE THE ROAD STATES, INC.,                )
 NAACP BUCKS COUNTY BRANCH                  )
 2253, BUXMONT UNITARIAN                    )
 UNIVERSALIST FELLOWSHIP,                   )
 and JUAN NAVIA,                            )
                                            )   No. 2:25-cv-02938
           Plaintiffs,                      )
                                            )
           v.                               )
                                            )
 FREDERICK A. HARRAN,                       )
 individually and in his official           )
 capacity as Sheriff of Bucks County,       )
 and BUCKS COUNTY,                          )
                                            )
           Defendants.                      )


                                   [PROPOSED] ORDER

       AND NOW, this ____ day of __________________, 2025, upon consideration of

Plaintiffs’ Petition for Attorneys’ Fees, accompanying Brief, and supporting declarations, it is

hereby ORDERED Plaintiffs’ Petition is GRANTED. It is further ORDERED that Defendant

Frederick A. Harran shall issue payment to counsel for Plaintiffs in the amount of $35,170.00

within 21 days of this Order.

                                                           BY THE COURT:




                                                           Juan R. Sánchez, J.
